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                     UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN


U.S. WATER SERVICES, INC. and
ROY JOHNSON,

                 Plaintiffs,
                                             Case No. 3:13-cv-00864-jdp
     v.

NOVOZYMES A/S and NOVOZYMES NORTH
AMERICA, INC.,

                 Defendants.




 NOVOZYMES’ RENEWED MOTION UNDER RULE 50(b) FOR JUDGMENT AS A
 MATTER OF LAW OF LIMITED DAMAGES OR, IN THE ALTERNATIVE, UNDER
       RULE 59 FOR A NEW TRIAL OR REMITTITUR OF DAMAGES
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I.     INTRODUCTION

       Pursuant to Federal Rule of Civil Procedure 50(b), defendants Novozymes A/S and

Novozymes North America, Inc. (collectively, “Novozymes”) seek judgment as a matter of law

limiting damages to a reasonable royalty rate of 7%.1 In the alternative, Novozymes moves for a

new trial on the issue of damages under Federal Rule of Civil Procedure 59.

       Assuming the jury’s liability verdict is not disturbed, judgment as a matter of law in

Novozymes’ favor is appropriate because the jury’s award of over $7.5 million is not a

reasonable royalty for use of the claimed invention.

       Alternatively, a new trial should be granted on damages because the admission of Mr.

Bero’s opinion testimony so distorted the framework for assessing a royalty for use of the

asserted patents that the jury’s damages award—a stunning 80% of Novozymes’ Phytaflow®

revenues—is untethered to any evidence of the value of the claimed invention and exceeds the

only comparable licenses in evidence by a factor of 40. A new trial that excludes such testimony

should be ordered unless U.S. Water agrees to a remittitur.

II.    NOVOZYMES IS ENTITLED TO JUDGMENT AS A MATTER OF LAW
       LIMITING DAMAGES

       A.      Legal Standard for Judgment as a Matter of Law

       In resolving a motion for judgment as a matter of law under Rule 50(b), the “court must

determine whether the jury had a legally sufficient evidentiary basis for the verdict it reached.”

Douglas Dynamics, LLC v. Buyers Prods. Co., 76 F. Supp. 3d 806, 812 (W.D. Wis. 2014); see

also Tate v. Executive Mgmt. Servs., Inc., 546 F.3d 528, 531–33 (7th Cir. 2008) (in reversing

district court’s denial of Rule 50(b) motion, observing that a jury verdict will be overturned



1
 See Dkt. No. 807, Novozymes’ Rule 50(a) Motion for Judgment of No Willful Infringement
and Limited Damages as a Matter of Law.


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where “no rational jury could have found for the” nonmoving party). In so doing, the court must

“construe the facts strictly in favor of the party that prevailed at trial, including by drawing all

reasonable inferences in that party’s favor and disregarding all evidence favorable to the moving

party that the jury is not required to believe.” Douglas Dynamics, 76 F. Supp. 3d at 812 (internal

quotations and citations omitted). The court “does not make credibility determinations or weigh

the evidence,” but “must assure that more than a mere scintilla of evidence supports the verdict.”

Wis. Alumni Research Found. v. Apple, Inc., __ F. Supp. 3d __, 2017 WL 2438832, at *2 (W.D.

Wis. June 6, 2017); see also Mut. Serv. Cas. Ins. Co. v. Elizabeth State Bank, 265 F.3d 601, 612

(7th Cir. 2001) (holding that to survive a Rule 50 motion, there must be “substantial evidence—

more than a mere scintilla—that would have permitted the jury to find in the [nonmoving

party]’s favor”).

       Although a reasonable royalty analysis “necessarily involves an element of

approximation and uncertainty,” on a post-trial motion for judgment as a matter of law, the court

is still required to “scrutinize the evidence carefully to ensure that the ‘substantial evidence’

standard is satisfied.” Whitserve, LLC v. Computer Packages, Inc., 694 F.3d 10, 26 (Fed. Cir.

2012) (quoting Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1336 (Fed. Cir. 2009)). A

jury’s damages award “must be supported by relevant evidence.” Unisplay, S.A. v. Am. Elec.

Sign Co., Inc., 69 F.3d 512, 517 (Fed. Cir. 1995) (emphasis added). Accordingly, expert

testimony on damages that is “conclusory, speculative and, . . . out of line with economic reality”

cannot provide the “substantial evidence” required to sustain a jury’s damages

award. Whitserve, 694 F.3d at 32–33; see also LaserDynamics, Inc. v. Quanta Computer, Inc.,

694 F.3d 51, 81 (Fed. Cir. 2012) (“When an expert opinion is not supported by sufficient facts to

validate it in the eyes of the law, or when indisputable record facts contradict or otherwise render




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the opinion unreasonable, it cannot support a jury’s verdict.” (quoting Brooke Grp. Ltd. v. Brown

& Williamson Tobacco Corp., 509 U.S. 209, 242 (1993)).

       B.      Damages Should Be Limited to a Royalty That Does Not Exceed 7% of Net
               Revenue of Phytaflow

       U.S. Water bore the burden of proving damages. Yet the testimony of its expert, Richard

Bero, fell short of providing a reliable foundation on which the jury could assess any damages in

this case. After making a number of faulty assumptions and overlooking contrary evidence, Mr.

Bero testified that in a hypothetical, arms-length negotiation, U.S. Water and Novozymes would

have agreed to a reasonable royalty of $8.00 per pound of Novozymes’ Phytaflow sold, or nearly

$12 million.2 This amount was more than Novozymes’ total revenue for all sales of Phytaflow

during the damages period and represented an effective royalty rate of 127% of revenue. In

contrast, Novozymes’ damages expert, Julie Davis, applied the correct legal framework and

concluded from U.S. Water’s own evidence that a royalty rate of 7% of revenue of the accused

Phytaflow products is reasonable compensation for use of the claimed invention.

       The jury’s damages verdict of $7,582,966, which did not specify the base or rate the jury

used to calculate the amount of damages,3 represents an effective royalty rate of more than 80%

of Novozymes’ revenue on sales of Phytaflow. While the jury did not adopt Mr. Bero’s damages

calculation entirely, the verdict was clearly skewed by the opinions he was permitted to offer at

trial. These opinions were based on an improper methodology.




2
  Prior to product launch, Phytaflow was known as Novozym® 50161. This motion refers to
both as “Phytaflow.”
3
  Novozymes asked that the verdict form include an interrogatory asking the jury to indicate the
base and rate used to calculate damages, but the Court declined to include such an interrogatory.
Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at 192:9–193:3.


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               1.      Mr. Bero’s Expert Opinion Was Based on an Unreliable Methodology
                       and Cannot Support the Unreasonable Royalty the Jury Awarded

       U.S. Water relied heavily on the testimony of Mr. Bero for its claim that a reasonable

royalty should be calculated at a rate of $8.00 per pound of Phytaflow sold, or nearly $12

million. See Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at 5–11 (Bero); Dkt. No. 819, Trial Tr.

(Oct. 20, 2017) at 101:20–25 (closing argument). Mr. Bero’s testimony was based on an

unreliable methodology and cannot support the jury’s award as a matter of law.

                       a.      Mr. Bero’s “Reasonable Royalty” Was an Unsupported Claim
                               for Lost Profits

       Mr. Bero’s “reasonable royalty” opinion was, in fact, a “lost profits” demand in disguise.

Although he purported to offer an analysis modeled on the Georgia-Pacific royalty framework,

his analysis was largely dictated by the “starting point royalty rate range” he chose at the outset.

That range was defined on the low end by effectively the entire amount of Novozymes’ profits

on sales of Phytaflow, and at the high end by the entire amount of U.S. Water’s hoped-for profits

on sales of pHytOUT. Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at 32:6–11, 53:23–54:5,

54:8–18. In explaining this starting point range, Mr. Bero stated that U.S. Water would have

expected to lose profits on pHytOUT if it licensed the asserted patents to Novozymes, and

therefore would have demanded a royalty higher than Novozymes’ revenue on Phytaflow to

recoup those lost profits. Id. at 10:12–14.

       Mr. Bero acknowledged that his starting point range attributes the entire value of U.S.

Water’s pHytOUT product offering to the patented method. He then assumed that U.S. Water

would have made all of the sales Novozymes made of Phytaflow of U.S. Water’s much higher

pre-competition selling price, and that U.S. Water would have made profits on those sales that

exceeded Novozymes’ actual selling price for Phytaflow. See id. at 56:2–14 (Mr. Bero attributed

“the vast majority” of U.S. Water’s profits on pHytOUT “to the patented methods and not to


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other things”); id. at 83:14–21 (stating his view that for every Novozymes sale, “the sale would

represent a likely sale that U.S. Water would make”); id. at 84:8–11 (stating that U.S. Water

“would have expected to likely make the sales of those that were otherwise made by the

infringing product”). Mr. Bero took this “lost profits” number, cast it as an “expectation” of U.S.

Water, and defined it as a “starting point” for the hypothetical negotiation. Id. at 41:11–21 (“I

use that $5 to $10 per-pound range to start my negotiation.”); id. at 35:11–12 (explaining that

“[t]he income approach looks at the expected profitability associated with the asset”). He then

assumed that Novozymes would expect to give up all (or nearly all) of its profits on Phytaflow,

and set Novozymes’ disgorgement of profits as the minimum “starting point” for the

hypothetical negotiation. Id. at 54:8–18. This methodology has no support in the law or in

sound economic analysis.

       A patentee’s compensatory damages for infringement typically are measured by one of

two methods: lost profits or reasonable royalty. Lucent Techs., 580 F.3d at 1324. Lost profits is

a measure of a competitor’s “sales and profits lost to the patentee because of the infringement.”

Rite-Hite Corp. v. Kelley Co., 56 F.3d 1538, 1545 (Fed. Cir. 1995). By contrast, a reasonable

royalty is a measure of what the patentee “would have received through arms-length bargaining”

for a license to use the claimed invention. Lucent Techs., 580 F.3d at 1324.

       A reasonable royalty is calculated based on a hypothetical negotiation for a license to the

patented invention between the patentee and the infringer at the time of first infringement. See

ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 868 (Fed. Cir. 2010). The hypothetical

negotiation “attempts to ascertain the royalty upon which the parties would have agreed had they

successfully negotiated an agreement just before infringement began.” Lucent Techs., 580 F.3d

at 1324. To recover lost profits based on lost sales, on the other hand, a patentee must show not




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what the parties would have agreed to, but instead must show that it lost sales and that the loss

was caused by the infringer—i.e., that but for the infringement, the patentee would have made

the infringer’s sales. Rite-Hite, 56 F.3d at 1545; see also Panduit Corp. v. Stahlin Bros. Fibre

Works, Inc., 575 F.2d 1152, 1156 (6th Cir. 1978) (reciting four-factor test for lost profits); Grain

Processing Corp. v. Am. Maize-Prods. Co., 185 F.3d 1341, 1349 (Fed. Cir. 1999) (“To recover

lost profits, the patent owner must show ‘causation in fact,’ establishing that ‘but for’ the

infringement, he would have made additional profits.”). For this reason, lost profits typically are

more difficult to prove than reasonable royalty damages. See Siemens Med. Sols. USA, Inc. v.

Saint-Gobain Ceramics & Plastics, Inc., 637 F.3d 1269, 1290 (Fed. Cir. 2011).

       Mr. Bero did not do a lost profits analysis. Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at

53:7–18. By framing his opinion as a “reasonable royalty” analysis, Mr. Bero avoided the

rigorous economic and legal standards of proof required for lost profits. For example, had Mr.

Bero attempted to demonstrate that U.S. Water actually lost profits based on Novozymes’ sales

of Phytaflow, he would have first had to show that demand for the patented method, as opposed

to other considerations, drives demand for Phytaflow and pHytOUT. See Versata Software, Inc.

v. SAP Am., Inc., 717 F.3d 1255, 1264 (Fed. Cir. 2013) (the required “but for” causation is

established by “the four-factor Panduit test”). He also would have had to provide an economic

analysis of the market, including the likelihood that U.S. Water could have continued to sell

pHytOUT at its higher prices to Novozymes’ customers who had been paying significantly less

per pound for Phytaflow. See id.

       Mr. Bero did not do any analysis to determine what actually drives demand for Phytaflow

or pHytOUT, although there were many such factors to consider. See infra § II.B.1.b. Instead,

he simply assumed that the entire value of both products was attributable to the patented method.




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Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at 31:7–12, 54:19–55:1, 56:2–11. He performed no

analysis of the alternatives on the market. Id. at 79:11–21. He did not account for price

sensitivity or price elasticity, but instead assumed that price was perfectly inelastic. Id. at 75:24–

76:5. He admitted that he could not show that but for a sale of Phytaflow by Novozymes, U.S.

Water would have sold the same amount of pHytOUT at U.S. Water’s preferred higher price.

See id. at 63:7–15, 83:14–84:11.

       Mr. Bero relied for his royalty calculation on U.S. Water’s expectation that it was entitled

to, and, but for Novozymes’ sales of Phytaflow, could in fact have made, its hoped-for profits on

sales of pHytOUT. Accordingly he set a starting point royalty range that assumed U.S. Water

would license the asserted patents to Novozymes at a rate premised on recouping those foregone

profits. In other words, Mr. Bero simply assumed as an “expectation of the parties” what a lost

profits analysis would have required him to prove.4 See id. at 62:4–15 (“[W]hen you have this

hypothetical negotiation, the expectation of U.S. Water as being the only other alternative

standalone phytase supplier, they will be expecting that they – well, they would know they earn

about 10 bucks a pound and they would be expecting that if they licensed out to a direct

competitor that they would be likely losing profits on the product, which equates to $10 per

pound.”). Mr. Bero’s decision to forego the rigorous analysis required by the Federal Circuit for

a claim of damages based on lost profits completely undermines the validity of his royalty




4
  This is not the first occasion on which Mr. Bero has attempted to use the reasonable royalty
framework to capture lost profits for a patent infringement plaintiff, without doing a real lost
profits analysis. In Sloan Valve Co. v. Zurn Indus., Inc., the Court rejected Mr. Bero’s virtually
identical analysis in which, “[d]espite acknowledging that lost profits were not available” during
the damages period, Mr. Bero “still attempts to include lost profits by incorporating them in his
reasonable royalty calculation.” 33 F. Supp. 3d 984, 1001 (N.D. Ill. 2014) (finding testimony by
Mr. Bero was unreliable and inadmissible).


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methodology, which relies on U.S. Water’s supposed lost profits to define one end of his

“starting point royalty range” and disgorgement of Novozymes’ profits to define the other.

                        b.      Mr. Bero Failed to Apportion the Value of the Patented
                                Method from the Value of the Unpatented Features of
                                pHytOUT and Phytaflow

         Mr. Bero failed to apportion the value of the patented method from the value of

unpatented features. At trial, he claimed to have relied on the “income approach” to assess the

value of the patented method as a “starting point,” but his testimony reflects that he did no such

thing.

         First, the “income approach,” correctly applied, focuses on the profits that use of the

patented technology creates for the accused infringer, not the patentee. See, e.g., Ultratec, Inc. v.

Sorenson Commc’ns, Inc., No. 13-cv-346-BBC, 2014 WL 5080411, at *4 (W.D. Wis. Oct. 9,

2014) (collecting cases regarding “the analytical or income approach,” and noting that “in those

cases, the experts compared the infringer’s profits without infringement to the infringer’s profits

with infringement” (emphases added)). However, Mr. Bero used all of U.S. Water’s (the

patentee’s) profits on pHytOUT (the patentee’s product) to define the high end of the “starting

point royalty range” that U.S. Water would expect to make for every infringing sale of Phytaflow

by Novozymes. Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at 54:1–7. He did not attempt to

assess the incremental profit, if any, that Novozymes (the accused infringer) enjoyed from use of

the patented technology.

         Second, even assuming application of the “income approach” to U.S. Water’s products

could yield relevant information, Mr. Bero did not correctly apply the “income approach”

methodology. Instead of comparing pHytOUT profits to the profits of other products that differ

from pHytOUT only with respect to the patented technology, Mr. Bero compared pHytOUT

products to the average profits of all products offered by U.S. Water’s EPT group, regardless of


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how those products otherwise compare to pHytOUT. Id. at 88:23–89:18. For example, he

admitted that, unlike pHytOUT, none of the other EPT products were enzyme products, and that

he did not consider whether any were as service-intensive as pHytOUT. Id. at 87:7–88:12; see

Dkt. No. 808, Bly 30(b)(6) Dep. Tr. at 244:23–255:5 (testifying that pHytOUT has proved to be

a “service-intensive product”). This misapplication of the “income approach” methodology

resulted in a grossly overstated range of value attributable to the patented method.

       Mr. Bero did not otherwise apportion any of the profits he used to define the “starting

point royalty range” to separate value attributable to the patented method from the value of other,

unpatented aspects of pHytOUT and/or Phytaflow, such as the phytase enzyme itself, the value

of the services provided with the products, or the value of other intellectual property embodied in

the products. This failure to apportion alone renders Mr. Bero’s testimony unreliable. See

LaserDynamics, 694 F.3d 51 at 67 (explaining that patent damages must be apportioned to avoid

the “considerable risk that the patentee will be improperly compensated for non-infringing

features of [a] product”); Virnetx, Inc. v. Cisco Systems, Inc., 767 F.3d 1308, 1329 (Fed. Cir.

2014) (finding that a damages expert’s testimony “was inadmissible and should have been

excluded” for failure to apportion value only to the patented technology).

       It is evident from U.S. Water’s own conduct that the selling price of pHytOUT, for

example, cannot be attributed solely to the patented method. For many years, U.S. Water

required fuel ethanol plants to sign a written supply agreement to obtain pHytOUT. E.g.,

DTX 2475. Under these supply agreements, a customer received more than simply the right to

use the patented method. Specifically, the selling price for pHytOUT included “payments for the




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Chemical, Invention, and USWS Services.”5 See id. at 005 (emphases added). Only the

“Invention” component of the selling price included a license to use the asserted patents, and that

license encompassed at least one other unasserted patent as well as U.S. Water’s trade secrets.

Id. at 003–004; see also Dkt. No. 818, Trial Tr. (Oct. 19, 2017 a.m.) at 46:17–21, 73:2–19 (U.S.

Water’s former CEO, Mr. Bly, testifying that U.S. Water continues to provide the services listed

in the supply agreements to current pHytOUT customers).

       Mr. Bero did not apportion these unpatented items―the phytase product formulation,

services, other patents, and trade secrets―from the patented method. Dkt. No. 836, Trial Tr.

(Oct. 19, 2017 p.m.) at 56:12–14, 56:20–22, 58:7–23. He simply assumed, for purposes of his

analysis, that these unpatented items have little or no value. Id. at 58:24–59:21. When pressed

regarding apportionment, he protested that “I didn’t go out and specifically try to apportion to

every little piece of the pie, but I apportioned to the patented technology.” Id. at 60:24–61:2.

His assertion, however, is belied by what he actually did. When asked to specifically explain his

apportionment, Mr. Bero admitted that he did nothing initially to segregate the value of the

patented method from unpatented aspects of the phytase product offerings of either party, but

instead started with a “range” of values and then “ended up at [$]8” as a result of applying the

Georgia-Pacific factors, which he then claimed reflected “the amount apportioned to the

patented technology.” Id. at 61:16–22. As explained above, this initial “range” was defined on



5
  “Invention” was defined as including rights to certain patents—including the not-yet-issued
’137 and ’399 patents—and “Know-How,” which was in turn defined as including “trade
secrets” and “chemical formulations, test procedures and other information owned or controlled
by” U.S. Water. DTX 2475 at 003. “Chemical” was defined as the (unpatented) pHytOUT
product itself. Id. “USWS Services” were itemized in an appendix to the agreement, and
included “pHytOUT® technology training,” “review of alternative pHytOUT® chemistries,”
“regular inventory reconciliation,” “chemical storage methods,” “fermentation data analyses,”
“process unit operational review & recommendations,” and “semi-annual business reviews.” Id.
at 012; see also PTX 599 (additional U.S. Water supply agreement).


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one end by Novozymes’ profits on Phytaflow and on the other end by U.S. Water’s profits on

pHytOUT; the $8.00 per pound was arbitrarily chosen at a point towards the upper end of the

range. This is not apportionment.

       Apportionment requires that a patentee “must in every case give evidence tending to

separate or apportion the defendant’s profits and the patentee’s damages between the patented

features.” Garretson v. Clark, 111 U.S. 120, 121 (1884). As the Supreme Court explained,

“[w]hen a patent is for an improvement, and not for an entirely new machine or contrivance, the

patentee must show in what particulars his improvement has added to the usefulness of the

machine or contrivance.” Garretson, 111 U.S. at 121 (emphases added); see also Rembrandt

Social Media, LP v. Facebook, Inc., 22 F. Supp. 3d 585, 594–95 (E.D. Va. 2013) (excluding

testimony because expert failed to apportion to account for just the value of the patented method

and no other features of the accused product, and recognizing that “an apportionment including

value attributable to more features than just the improvement overcompensates the patentee.”).

Such evidence must be “reliable and tangible,” not “conjectural or speculative.” Garretson, 111

U.S. at 121. Apportionment can be performed in “various ways,” such as by limiting the royalty

base “to reflect the value added by the patented feature” or by “discount[ing] the value of a

product’s non-patented features.” Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1226 (Fed.

Cir. 2014) (citing Garretson). However, the “essential requirement is that the ultimate

reasonable royalty award must be based on the incremental value that the patented invention

adds to the end product.” Id.

       Under these controlling principles, Mr. Bero’s analysis cannot support the jury’s damages

award. Mr. Bero began with a “starting point royalty range” that reflected no apportionment

whatsoever of the aspects of the pHytOUT or Phytaflow product offerings related to the patented




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methods. In fact, his starting range assigns a value of zero to all non-patented aspects of

pHytOUT and Phytaflow (even though it was not disputed that such non-patented aspects exist),

and instead incorrectly assumes that all profits are attributable to only to the patented methods.

He also failed to consider the “incremental value” of the patented methods, which are, at best,

merely an improvement to the prior art. In other words, Mr. Bero’s “apportionment” was no

apportionment at all. See Ericsson, 773 F.3d at 1226.

        Nor is Mr. Bero’s analysis made reliable by the fact that he split the difference between

U.S. Water’s and Novozymes’ profits and ultimately “ended up at [$]8.” Dkt. No. 836, Trial Tr.

(Oct. 19, 2017 p.m.) 51:2–8, 61:16–22. This analysis falls far short of the “reliable and tangible”

evidence needed to demonstrate proper apportionment. See Ericsson, 773 F.3d at 1226; see also

LaserDynamics, 694 F.3d at 69 (finding that an expert’s apportionment analysis “appears to have

been plucked out of thin air based on vague qualitative notions of the relative importance of the

[patented] technology,” and “would alone justify excluding [his] opinions”). As Mr. Bero failed

to carefully apportion damages to the value of the claimed invention, his opinions cannot support

the jury verdict.

                       c.      Mr. Bero’s Royalty Rate Was Unsupported by Substantial
                               Evidence and Was Grossly Excessive

        The jury’s damages verdict is grossly excessive for at least two reasons. First, the jury’s

verdict was necessarily influenced by Mr. Bero’s testimony that a minimum royalty (the low end

of the “starting point royalty range”) would require Novozymes to disgorge all of its profits on

Phytaflow sales. Disgorgement is not a permissible remedy for patent infringement. Robert

Bosch, LLC v. Pylon Mfg. Corp., 719 F.3d 1305, 1315–16 (Fed. Cir. 2013) (observing that

“Congress eliminated recovery of an adjudged infringer’s profits” as a remedy for patent

infringement in 1946, and explaining that “in a modern damages trial,” it is appropriate to



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determine “a patentee’s damages including lost profits or a reasonable royalty, but not . . . an

adjudged infringer’s profits” (citation omitted)). Nor is there any evidence that Novozymes

considered disgorgement of its profits a reasonable “starting point” for the hypothetical

negotiation.

       Second, it is not reasonable to conclude, as Mr. Bero did, that in this case a hypothetical

negotiation would result in a royalty rate that leaves Novozymes with no profit at all (let alone a

loss), and Mr. Bero relied on no facts to support such a royalty, save for U.S. Water’s purported

“expectations.” See Lindemann Maschinenfabrik GmbH v. Am. Hoist & Derrick Co., 895 F.2d

1403, 1408 (Fed. Cir. 1990) (finding that the opinion of patentee’s damages expert that the

accused infringer “‘would agree to pay a royalty in excess of what it expected to make in profit’

was, in light of all the evidence in this case, absurd”); Hughes Tool Co. v. Dresser Indus., Inc.,

816 F.2d 1549, 1558 (Fed. Cir. 1987) (reversing a reasonable royalty award of 25% as arbitrary,

in part because that rate did not leave the infringer with “a reasonable profit”); see also Mobil Oil

Corp. v. Amoco Chems. Corp., 915 F. Supp. 1333, 1365–66 (D. Del. 1994) (finding a patentee’s

damages theory “unsound” where it sought a royalty in excess of the defendant’s entire profit

during the damages period, as such an analysis “does not pass the reality test”). Such a royalty is

permissible only if, at the time of the hypothetical negotiation, Novozymes expected significantly

greater profits from use of the patent methods than it actually received. See Rite-Hite, 56 F.3d at

1577 (Nies, Archer, Smith, & Mayer, JJ., dissenting-in-part) (“Although this court has

sanctioned royalty awards that exceeded the infringer’s actual net profits, we have done so only

when there was evidence that the infringer actually anticipated greater net profits.” (collecting

cases)). There was no such evidence.




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        Mr. Bero himself conceded that it would be uncommon for a licensee to agree to a

royalty greater than the average selling price of its product, and yet he testified at trial that just

such a royalty was “reasonable.” Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at 52:21–53:6.

Mr. Bero’s royalty rate of $8.00 per pound was grossly excessive, and his testimony to that effect

skewed the jury’s verdict in the direction he advocated. See LaserDynamics, 694 F.3d at 68

(observing that disclosure to the jury of over-inclusive royalty base “cannot help but skew the

damages horizon for the jury”).

                        d.      Mr. Bero Failed to Account for Price Elasticity and Price
                                Sensitivity of Customers

        As explained above, Mr. Bero assumed that U.S. Water would have made all of

Novozymes’ sales of Phytaflow at U.S. Water’s selling price, even though that selling price was

more than twice Novozymes’. Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at 51:18–22, 83:14–

21, 84:5–11. But Mr. Bero conceded that he did not do a price sensitivity or price elasticity

analysis. Id. at 76:4–5. These failures render his analysis unreliable. See Crystal Semiconductor

Corp. v. TriTech Microelectronics Int’l, Inc., 246 F.3d 1336, 1357 (Fed. Cir. 2001) (“[I]n a

credible economic analysis, the patentee cannot show entitlement to a higher price divorced from

the effect of that higher price on demand for the product.”).

        When a patentee asserts it would have charged a higher price, and demands damages to

make up for that difference in price, a damages expert must provide economically sound

evidence of the impact that price increase would have on the number of sales it would have

expected to make. See id. at 1359–60 (requiring evidence sufficient “to show the reaction of the

market if, ‘but for’ infringement, [the patentee] would have tried to charge at least 89¢ more” as

well as “evidence of how a hypothetical increase in price would have affected [patentee’s] profits

due to lost sales,” and holding that “[t]o show causation with reliable evidence, a patentee must



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produce credible economic evidence to show the decrease in sales, if any, that would have

occurred at the higher hypothetical price”); TV Interactive Data Corp. v. Sony Corp., 929 F.

Supp. 2d 1006, 1027 (N.D. Cal. 2013) (interpreting Crystal Semiconductor to “require[] a price

elasticity analysis when a patent holder seeks to collect damages on a price erosion theory”). A

credible analysis must at least explain why the market is inelastic, which the Federal Circuit has

cautioned is “very rare.” Crystal Semiconductor, 246 F.3d at 1359; accord Ericsson v. Harris,

352 F.3d 1369, 1378 (Fed. Cir. 2003). An example of the rare instance where an inelastic market

may occur is where “substitution of a product [is] impossible and the product [is] a necessity.”

Crystal Semiconductor, 246 F.3d at 1359.

       Mr. Bero failed to perform such a price elasticity analysis. Indeed, he acknowledged that

there is uncertainty associated with the price customers would be willing to pay in excess of

what they were paying for Phytaflow. Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at 75:18–21,

75:24–76:1, 76:4–5, 84:12–19. Specifically, he conceded that if Novozymes were to raise its

prices to support the royalty Mr. Bero contends is “reasonable,” “[p]erhaps some of those sales

would have otherwise diminished . . . . We don’t know that for sure.” Id. at 85:22–86:9. He

also testified that he did not have, and did not consider, any evidence showing that Novozymes’

customers would have been willing to pay higher prices, let alone the higher prices U.S. Water

wanted to charge. Id. at 86:8–15.

       This is not one of those “rare” inelastic markets where the accused product is a necessity

and cannot be substituted for another. See Crystal Semiconductor, 246 F.3d at 1359. About half

of fuel ethanol plants use neither pHytOUT nor Phytaflow. See Dkt. No. 823, Trial Tr. (Oct. 13,

2017 a.m.) at 143:3–14 (Rogers) (approximately 200 fuel ethanol plants in the United States);

Dkt. No. 809, Pasko Dep. Tr. at 227:17–228:22 (U.S. Water has had about 50 “steady state”




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users of pHytOUT); Dkt. No. 819, Trial Tr. at 49:1–10 (Oct. 20, 2017) (Davis) (Novozymes has

had 57 total Phytaflow customers). The evidence at trial established that as of 2014, these plants

either used blended products containing phytase (provided by Genencor / DuPont), or no phytase

at all. Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at 63:1–15 (Bly) (“U.S. Water did lose sales

of its pHytOUT product to Dupont”); Dkt. No, 833, Trial Tr. (Oct. 17, 2017 a.m.) at 152:15–24

(Flanegan) (admitting that sulfuric acid and cleaning in place still remain options to reduce

fouling); Dkt. No. 824, Trial Tr. (Oct. 16, 2017 p.m.) at 65:12–16 (Kohl) (one of the three White

Energy fuel ethanol plants does not use phytase); Dkt. No. 804, Rogers Dep. Tr. at 91:9–16

(describing the use of other enzymes or sulfuric acid, adjusted cleaning cycles, and mechanical

solutions).

       Mr. Bero’s assumption that U.S. Water could have made all of Novozymes’ Phytaflow

sales while still charging much higher prices for pHytOUT is at odds with the undisputed

evidence of the fuel ethanol industry’s response to U.S. Water’s product offering during the

approximately three years that U.S. Water was offering a phytase and Novozymes was not. Ms.

Davis testified without contradiction that of Novozymes’ 57 Phytaflow customers, 44 had never

purchased pHytOUT from U.S. Water and 25 of those had never even trialed pHytOUT. Dkt.

No. 819, Trial Tr. (Oct. 20, 2017) at 48:24–49:10. Mr. Bero did not account for this evidence.

       Both Mr. Bly and one of U.S. Water’s technical experts, Mr. Dorn, testified that the fuel

ethanol market is highly price-sensitive. Dkt. No. 815, Trial Tr. (Oct. 11, 2017 p.m.) at 75:11–

15 (Mr. Dorn characterizing the market as “very competitive” and stating that customers are

“constantly trying to . . . reduce costs”); Dkt. No. 818, Trial Tr. (Oct. 19, 2017 a.m.) at 73:20–21

(Mr. Bly testifying that customers are sensitive to price); see also Dkt. No. 809, Pasko Dep. Tr.

at 107:1–108:14 (testifying that customers would not buy if the return on investment was not




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compelling enough); id. at 246:9–12 (testifying that customers complained U.S. Water’s prices

were too high). Mr. Bero’s assumption that all of Novozymes’ customers would be willing to

pay a significantly higher price for a phytase product is contrary to the evidence. Dkt. No. 836,

Trial Tr. (Oct. 19, 2017 p.m.) at 86:12–15. Indeed, Mr. Bero conceded that it would be

unreasonable to expect U.S. Water would have made its pre-dispute profits on sales to customers

that had been paying less than that for Novozymes’ Phytaflow. Id. at 84:20–85:1.

       To justify the kinds of assumptions Mr. Bero made, even for a reasonable royalty

analysis, U.S. Water needed to present evidence of the effect of its higher price on the demand

for the product. Crystal Semiconductor, 246 F.3d at 1357 (explaining that “in a credible

economic analysis, the patentee cannot show entitlement to a higher price divorced from the

effect of that higher price on demand for the product”). There is no such evidence in the record.

As the assumptions on which Mr. Bero premised his royalty analysis are not reasonable and are

not supported by any credible economic analysis, the jury’s verdict cannot stand.

                       e.     Mr. Bero’s Analysis and Conclusions Regarding the Avantec
                              Products Are Unreliable

       Mr. Bero considered Novozymes’ sales of Avantec®—a product that does not contain

phytases—to be a key factor in forming his opinion regarding a reasonable royalty. Dkt. No.

836, Trial Tr. (Oct. 19, 2017 p.m.) at 17:10–13. Mr. Bero testified that Avantec is a “significant

product with significant profits and significant sales.” Id. at 32:1–3. He opined that “there’s a

relationship in some fashion between [Phytaflow and Avantec],” and specifically testified that

$91 million in Avantec sales were made to Phytaflow customers.6 Id. at 46:6–12 (emphasis




6
 Mr. Bero testified that Novozymes’ Avantec sales totaled $129 million from 2012 through
2014, and of that $129 million, “91 million of that went to Phytaflow customers.” Dkt. No. 836,
Trial Tr. (Oct. 19, 2017 p.m.) at 28:18–24.


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added), 79:24–80:3. Based on the “relation” between these products, Mr. Bero opined that sales

of Avantec support an upward adjustment of the royalty rate for Phytaflow. Id. at 44:9–45:3,

46:6–12. But Mr. Bero’s speculation about the relationship between Avantec and Phytaflow has

no support in the record. Indeed, the evidence at trial contradicts Mr. Bero’s conclusions.

       Avantec is an alpha-amylase product used in liquefaction to improve ethanol yields. Dkt.

No. 805, Schnurrer Dep. Tr. at 136:4–5; Dkt. No. 804, Rogers Dep. Tr. at 37:20–38:4. Mr.

Rogers testified that in Avantec trials with customers, it is Novozymes’ “main goal [ ] to make

the Avantec sell.” Dkt. No. 804, Rogers Dep. Tr. at 56:20–21. If a customer uses Avantec,

Novozymes recommends that the customer also use a phytase such as Phytaflow if prior to trying

Avantec, the customer had been using an amylase product with a phytase component. Id. at

54:7–55:19, 56:14–56:18; see also PTX 138 at NZ-USW00004093 (Avantec recommended

practices sheet, stating: “Phytase should not be reduced or removed at the start of an Avantec

trial. Novozymes Phytaflow can be used to replace any phytase lost by discontinuing use of

other phytase containing products.”); Dkt. No. 816, Trial Tr. (Oct. 13, 2017 p.m.) at 63:17–64:9

(Schnurrer) (discussing increased fouling in a plant using Avantec when it stopped using a

phytase, and the recommendation in PTX 511 to “[p]ut a phytase back in”); see also PTX 511.

In other words, a sale of Avantec may generate a sale of Phytaflow (or other phytase-containing

products), and not the other way around. Dkt. No. 804, Rogers Dep. Tr. at 57:2–57:3. In fact,

sales of Avantec contributed to sales of pHytOUT for U.S. Water. See Dkt. No. 819, Trial Tr.

(Oct. 20, 2017) at 59:5–18 (Ms. Davis testifying that “a lot of those customers that buy Avantec

are also buying pHytOUT, so in some ways it has even increased the sales of pHytOUT”). On

cross examination, Mr. Bero admitted that his $91 million figure for Avantec sales included

Avantec customers who bought pHytOUT, not Phytaflow. Dkt. No. 836, Trial Tr. (Oct. 19, 2017




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p.m.) at 80:22–23; 81:17–20. Thus, the evidence shows that although sales of Avantec—a key

fuel ethanol enzyme—may cause increased sales of phytase, including Phytaflow, there is no

evidence to support Mr. Bero’s view that Novozymes’ Avantec sales would have been at risk

without use of Phytaflow in the patented method.7 See Georgia-Pacific Corp. v. United States

Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970) (factor six looks at “[t]he effect of

selling the patented specialty in promoting sales of other products of the licensee” (emphasis

added)); see also Dkt. No. 819, Trial Tr. (Oct. 20, 2017) at 80:12–17 (Davis) (“I don’t think

th[at] Phytaflow increases sales of the Avantec product as the Georgia-Pacific factor No. 6

analysis requires us to consider.”).

       Mr. Bero conceded he could not make the case that Phytaflow promoted sales of

Avantec. See id. at 82:4–7 (“I can’t say specifically that Phytaflow caused Avantec sales, no.”);

id. at 82:8–15 (“But it certainly could be the case that Avantec was promoting sales of

Phytaflow, sure.”). He also conceded that he did not determine which product a customer

purchases first―Avantec or Phytaflow. Id. at 81:21–82:3; see also id. at 81:5–11, 81:16–20

(conceding that some Avantec customers had purchased both pHytOUT and Phytaflow, and

some purchased just pHytOUT). Mr. Bero’s reliance on “a relationship in some fashion”

between Avantec and Phytaflow, id. at 46:6–12, falls far short of establishing that sales of

Avantec are relevant to a royalty for use of the patented method.

       Before trial, when pressed by the Court for an explanation of how, if at all, his analysis

took into account Novozymes’ perspective, Mr. Bero effectively identified two reasons:

Novozymes could charge more for Phytaflow than it had been, and Novozymes’ sales of




7
 Novozymes sells Avantec to only seven fuel ethanol plants; of those seven, only two purchase
Phytaflow. Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at 122:19–123:3.


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Avantec. Dkt. No. 828, Trial Tr. (Oct. 11, 2017 a.m.) at 12:15–14:6. As discussed above, see

supra § II.B.1.d, U.S. Water and Mr. Bero provided no evidence that the market would have

supported the higher price required for Novozymes to absorb a royalty of $8.00 per pound (or

even $5.00 per pound) on Phytaflow sales. This leaves Avantec as the sole basis for Mr. Bero’s

assertion that his hypothetical negotiation floor of almost all of Novozymes’ profits is

reasonable:

               MR. BERO: . . . [T]hey also have a product by the name of Avantec. And
       I don’t know how much that’s been discussed here, but Avantec was – that
       product was a much higher volume product that when it was used, it increased
       fouling, as I understand it. And in the best practices for Avantec, they said to use
       Phytaflow.

               And we analyzed the data and we found that 70% of their customers or
       their volume of Avantec are sold to Phytaflow customers. And the value
       associated with the Avantec was multiples, and multiples, and multiples. That’s
       one of the factors that would give them the incentive to pay more –

               ...

               THE COURT: So if I get this right – now, tell me if I’m understanding
       this right: I get the whole idea that they got the Avantec product, so they're going
       to make money on Avantec even if they sell the Phytaflow even at a loss. I don't
       see any number put on that exactly. But I gather – tell me if I’ve got this right –
       your idea here is that Novozymes would be willing to pay eight bucks in a royalty
       because it could charge as much as 14 bucks a pound.

               MR. BERO: Yes.

Dkt. No. 828, Trial Tr. (Oct. 11, 2017 a.m.) at 13:7–14:16. But for the reasons just discussed,

the evidence at trial does not support Mr. Bero’s thesis regarding Avantec, because if anything

Avantec sales drove sales of Phytaflow, and not vice versa. Mr. Bero failed to establish the kind

of relationship between Avantec and Phytaflow that would support the royalty rate he advocated

and that he told the Court he would establish at trial.

       A reliable damages analysis requires more than speculation. Under the Georgia-Pacific

factors, Mr. Bero was required to show that the patented method must promote or generate the


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sales of non-patented items, but he provided no analysis to support such a conclusion.

Accordingly, there was no basis for Mr. Bero’s upward adjustment of the royalty based on

Novozymes’ sales of Avantec sales.

               2.     Royalty Damages Should Not Exceed a 7% Royalty Rate on
                      Phytaflow Revenue

       Novozymes advocated a royalty rate of 7% of Phytaflow revenue based primarily on the

testimony of its damages expert, Julie Davis. In the absence of sufficient evidence to support the

jury’s damages verdict, the Court should order, as a matter of law, that damages for use of the

patented method may not exceed a rate of 7% of revenue.

       Ms. Davis used a reliable methodology to calculate royalty damages. First, she

performed an apportionment analysis of U.S. Water’s pHytOUT product offering which

included, among other things, a grant of a nonexclusive license to the asserted patents. See

DTX 2475 at 004; Dkt. No. 819, Trial Tr. (Oct. 20, 2017) at 29:9–20 (explaining that these

agreements are key considerations because “[i]f you want to know what somebody should pay

for a patented technology as an outcome to a hypothetical negotiation, it’s good to look at real-

world negotiations to see what somebody has already been willing to pay”). Ms. Davis relied

specifically on a supply agreement in which Kansas Ethanol agreed to purchase pHytOUT from

U.S. Water at a price of $14.93 per pound, but all of U.S. Water’s supply agreements were very

similar and reflected a similar price. DTX 2475 at 002, 006; Dkt. No. 819, Trial Tr. (Oct. 20,

2017) at 31:1–13. As she testified, these agreements provided the customer with four

components as part of the pHytOUT product offering: (1) a supply of the pHytOUT enzyme

formulation; (2) services provided by U.S. Water; (3) a license to multiple patents, including the




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’137 and ’399 patents; and (4) a right to trade secrets or know-how. Dkt. No. 819, Trial Tr. (Oct.

20, 2017) at 30:9–21.8

       Using information from U.S. Water and the agreements themselves, Ms. Davis

apportioned the $14.93 to derive the value associated with each of these four components of the

supply agreements. Id. at 31:14–39:10; see also Dkt. No. 808, Bly 30(b)(6) Dep. Tr. at 208:18–

217:9; DTX 2157 at ¶¶ 14, 21, 24, 26–33, 78. After accounting for the enzyme product

formulation supply, the services, the trade secrets, and unasserted patents, Ms. Davis concluded

that the portion of the $14.93 selling price attributable to the asserted patents is $1.08, or 7% of

the total selling price. Dkt. No. 819, Trial Tr. (Oct. 20, 2017) at 39:3–40:2.

       In forming her opinion regarding a reasonable royalty, Ms. Davis also considered two

comparable patent licenses between competitors in the enzyme industry—one of which was for

the very technology required to produce the phytase enzyme used in Phytaflow and in at least

one version of U.S. Water’s pHytOUT product—and a court judgment setting a reasonable

royalty after a determination of infringement on a patent related to alpha-amylases for use in the

fuel ethanol industry. Dkt. No. 819, Trial Tr. (Oct. 20, 2017) at 40:10–45:13. The royalties in

these licenses were all structured as a percentage of net sales. Id. at 42:9–21, 43:5–15, 44:23–

45:10. They ranged from 2% of sales for the first two licenses, up to 20% of sales for the

reasonable royalty judgment. Id. at 41:19–21, 42:24–43:4, 45:6–10. As Ms. Davis explained,

this 20% was “the highest running royalty rate that [she’s] seen in the fuel ethanol industry,” and

was for an enzyme that, unlike phytase, is essential for the production of fuel ethanol. Id. at



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  Novozymes’ Phytaflow product offering includes similar components. Dkt. No. 819, Trial Tr.
(Oct. 20, 2017) at 51:19–52:12, 53:8–13 (Ms. Davis testified that Phytaflow incorporates
multiple technologies separate from U.S. Water’s patents, and concluded that “there’s a whole
lot more involved in Phytaflow and the sales of Phytaflow than just the use of a patented
technology”).


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45:4–13; see also id. at 83:16–84:3 (explaining why this judgment is relevant to the hypothetical

negotiation here); Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at 30:20–22 (Bero admitting that

royalties are typically based on selling price).

        Ms. Davis also considered the limited nature of the improvement covered by U.S.

Water’s patents. U.S. Water did not invent phytases, Dkt. No. 814, Trial Tr. (Oct. 10, 2017 p.m.)

at 21:9–10, nor did U.S. Water invent the use of phytases in fermentation or in the wet milling

process, as those processes were already in the public domain, see Dkt. No. 830, Trial Tr. (Oct.

16, 2017 a.m.) at 69:8–20 (Kohl). The evidence showed that the asserted patents claimed at most

an incremental improvement over the prior art. As the Court found before trial, 6 of the 7 claim

limitations of the asserted patents are expressly disclosed by the prior art. See Dkt. No. 833,

Trial Tr. (Oct. 17, 2017 a.m.) at 143:9–13 (instructing the jury on this point). The only limitation

not expressly taught in the prior art is the result of phytase acting on phytic acid salts, i.e.,

reduction of the formation of phytate deposits. Id.

        Finally, Ms. Davis considered the fact that plants may opt to use non-phytase alternatives.

Dkt. No. 819, Trial Tr. (Oct. 20, 2017 a.m.) at 45:14–46:2 (noting that “less than half of the 200

plants at any one time are using either Phytaflow or pHytOUT”). And she took into account the

fact that the relationship between U.S. Water and Novozymes is not just simple competition in a

two-player market. Id. at 46:3–9. As of the date of the hypothetical negotiation, U.S. Water was

purchasing Novozymes’ own phytase to use in its product. Id. at 46:10–17; see also Dkt. No.

823, Trial Tr. (Oct. 13, 2017 a.m.) at 147:4–18 (Mr. Rogers testifying regarding Ronozyme P-

(L)); Dkt. No. 824, Trial Tr. (Oct. 16, 2017 p.m.) at 155:26–156:6 (Mr. Bly testifying that U.S.

Water’s pHytOUT XP product contained Ronozyme P-(L)). U.S. Water faced competition not

just from Novozymes or from non-phytase-containing alternatives, but also from at least




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Genencor’s Distillase SSF+ blended phytase-amylase product. Dkt. No. 819, Trial Tr. (Oct. 20,

2017) at 46:21–48:12. Ms. Davis further concluded from the U.S. Water and Novozymes sales

data and U.S. Water’s own evidence that Novozymes expanded the market to plants that U.S.

Water either had not reached or was unable to reach. Id. at 48:13–50:7.

       Unlike Mr. Bero, Ms. Davis grounded her analysis in the facts and the law. A running

royalty of 7% of Phytaflow sales revenue is reasonable. As a matter of law, damages should not

exceed that amount.

III.   IN THE ALTERNATIVE, NOVOZYMES IS ENTITLED TO A NEW TRIAL ON
       DAMAGES OR REMITTITUR

       The jury awarded U.S. Water almost $7.6 million in damages. That award should be set

aside and a new trial held on damages if for no other reason than that Mr. Bero should not have

been allowed to testify at trial. But even setting that evidentiary error aside, the jury’s award is

grossly excessive, representing approximately 80% of Novozymes’ total revenues on Phytaflow.

The excessive nature of the award is evident from the two comparable industry licenses

introduced at trial, which set the royalty rate at a mere 2% of revenue, and from evidence that a

20% royalty is the highest known in the fuel ethanol industry. The jury’s outsized award was

likely skewed by the excessively high “starting point royalty range” Mr. Bero advocated,

combined with the jury’s exposure to Novozymes’ significant revenues for Avantec. For these

reasons, Novozymes asks that the Court conditionally grant a new trial as to damages unless U.S.

Water agrees to remit $6,922,474 of the damages award―the portion of the award that exceeds

7% of Phytaflow revenues.

       A.      Legal Standard for a New Trial

       A Rule 59 motion may raise “procedural issue(s) not unique to patent law,” in which case

the law of the regional circuit governs. WMS Gaming, Inc. v. Int’l Game Tech., 184 F.3d 1339,



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1361 (Fed. Cir. 1999); accord Leader Techs., Inc. v. Facebook, Inc., 678 F.3d 1300, 1305 (Fed.

Cir. 2012) (reviewing denial of motion for a new trial under regional circuit law). In the Seventh

Circuit, a motion for a new trial under Rule 59 is directed to the discretion of the Court, which

may grant a new trial on any issue if “the verdict is against the weight of the evidence, the

damages are excessive, or if for other reasons the trial was not fair to the moving party.” Shick v.

Ill. Dep’t of Human Servs., 307 F.3d 605, 611 (7th Cir. 2002) (quotation omitted); see also Tullis

v. Townley Eng’g & Mfg. Co., 243 F.3d 1058, 1066 (7th Cir. 2001). To obtain a new trial based

on an evidentiary error, that error must have had “a substantial influence over the jury” such that

“the result reached was inconsistent with substantial justice.” Shick, 307 F.3d at 611. An

evidentiary error satisfies that standard “if a significant chance exists” that the error “affected the

outcome of the trial.” Id.

       However, in analyzing a request for a new trial on patent damages, “Federal Circuit law

[applies] to substantive and procedural issues pertaining to patent law.” Whitserve, 694 F.3d at

26 (quoting Wordtech Sys., Inc. v. Integrated Networks Solutions, Inc., 609 F.3d 1308, 1318

(Fed. Cir. 2010)). The district court must “scrutinize the evidence carefully” to ensure that

“substantial evidence” supports the jury’s verdict. Id.

       B.      The Jury’s Damages Awarded Is Based on Evidence that Should Have Been
               Excluded

       As a matter of law, U.S. Water failed to present reliable evidence as to the damages to

which it is entitled. For the reasons described above, Mr. Bero’s testimony should have been

excluded, as it lacked the reliability and foundation necessary to form an expert opinion upon

which a damages award can be based. See supra § II.B.1; see also Dkt. No. 462 (Novozymes’

MIL No. 3). And without Mr. Bero’s testimony, there simply is no evidence to support the

jury’s damages verdict to the extent it exceeds the 7% royalty rate to which Novozymes’



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damages expert, Ms. Davis, testified. For this reason alone, Novozymes is entitled to a new trial

absent U.S. Water’s acceptance of a remittitur. See infra § III.D.

       C.      The Jury’s Damages Award Is Excessive

       The jury awarded damages of $7,582,966. This number is approximately $5.06 per

pound of Phytaflow sold, and accounts for about 80% of Novozymes’ total revenue. Either way,

this damages award is grossly excessive.

       The jury’s award falls within Mr. Bero’s contemplated “starting point royalty range” of

$5 to $10 per pound. But that range starts off excessively high. See supra § II.B.1. As of the

time of the hypothetical negotiation, the $5 floor represented nearly all of Novozymes’

Phytaflow profits, and did not account for Novozymes’ position in the negotiation—a basic

requirement of a reasonable royalty award. Dkt. No. 828, Trial Tr. (Oct. 11, 2017 a.m.) at 11:5–

13 (Court explaining that “the hypothetical negotiation analysis has to reflect the perspective of

the infringer” as well as the patentee). Although “an infringer’s net profit margin is not the

ceiling by which a reasonable royalty is capped,” and there are circumstances that could warrant

a royalty rate equal to or greater than an infringer’s profits, such circumstances are not present

here. Douglas Dynamics, LLC v. Buyers Prods. Co., 717 F.3d 1336, 1346 (Fed. Cir. 2013); see

also Rite-Hite, 56 F.3d at 1577 (Nies, Archer, Smith, & Mayer, JJ., dissenting-in-part)

(“Although this court has sanctioned royalty awards that exceeded the infringer’s actual net

profits, we have done so only when there was evidence that the infringer actually anticipated

greater net profits.”) (collecting cases). U.S. Water has not shown that the market could

withstand the higher prices Novozymes would have to charge to retain a profit—indeed,

numerous U.S. Water witnesses testified that fuel ethanol plants are sensitive to phytase price.

See supra § II.B.1.d.




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       Mr. Bero also justified his royalty rate floor by arguing that Novozymes needs Phytaflow

to drive sales of its substantially more profitable Avantec product. Dkt. No. 828, Trial Tr. (Oct.

11, 2017 a.m.) at 13:16–17 (arguing to the Court that Novozymes’ revenue from Avantec “was

multiples, and multiples, and multiples” of that from Phytaflow). He testified during the

damages phase that Novozymes received $129 million in revenue from Avantec sales over a

three-year period, while sales of Phytaflow over a four-year period were less than a tenth of that.

Dkt. No. 836, Trial Tr. (Oct. 19, 2017 p.m.) at 28:18–24; Dkt. No. 819, Trial Tr. (Oct. 20, 2017)

at 22:10–13. But as discussed in § II.B.1.e supra, U.S. Water did not establish that sales of

Phytaflow drove sales of Avantec. Accordingly, Mr. Bero’s testimony regarding Novozymes’

Avantec revenues served only to skew the jury’s perspective toward a much higher damages

award than it could or would have contemplated had it never been exposed to that number in the

first instance. See LaserDynamics, 694 F.3d at 68 (observing that where damages should have

been based on the value of a patent feature, disclosure to the jury of overall product revenue

“cannot help but skew the damages horizon for the jury,” and affirming grant of a new trial on

damages (quoting Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1320 (Fed. Cir. 2011)).

       That the jury’s damages award is excessively high is evidenced by the comparable

licenses introduced at trial. See supra § II.B.2. Ms. Davis testified regarding two such licenses

in the fuel ethanol industry, both having royalty rates of 2% of revenue. Dkt. No. 819, Trial Tr.

(Oct. 20, 2017) at 41:19–21, 42:24–43:4. The damages awarded here equate to 80% of revenue,

dwarfing these comparable licenses 40-fold. Ms. Davis acknowledged a reasonable royalty rate

of 20% of revenue for an alpha-amylase product in the fuel ethanol industry, awarded by a court

after the product was found infringing at trial. Id. at 43:16–44:11. But not only is the alpha-

amylase enzyme—unlike phytase—essential to fuel ethanol production, Ms. Davis testified that




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this 20% royalty was the largest she had ever seen in this industry. Id. at 44:15–22, 45:4–13.

Yet the royalty rate awarded here is four times higher than this “largest ever seen” award. The

evidence does not support this excessively large damages award. See supra § II.B; see also

Wordtech Sys., 609 F.3d at 1319–22 (reversing denial of Rule 59 motion and remanding for a

new trial on damages after noting, inter alia, that the jury’s effective royalty rate was far higher

than any license introduced into evidence).

       D.      The Court Should Order Remittitur

       Where a damages award is excessive, as here, the Court may “allow [the] plaintiff the

option of agreeing to a remittitur in a specified amount.” Oiness v. Walgreen Co., 88 F.3d 1025,

1030 (Fed. Cir. 1996); see also 11 Charles A. Wright et al., Fed. Practice & Procedure Civil

§ 2815 (3d ed. 1998). In calculating the amount to be remitted, the Federal Circuit follows the

“‘maximum recovery rule,’ which requires that the determination be based on the highest amount

of damages that the jury could properly have awarded based on the relevant evidence.”

Unisplay, 69 F.3d at 519. Here, as described in § II.B.2 supra, the maximum reasonable royalty

award supported by the evidence presented at trial is 7% of revenue on Phytaflow sales. This

sum totals $660,492 on the sales through the end of May 2017, as Ms. Davis testified. Dkt. No.

819, Trial Tr. (Oct. 20, 2017) at 22:10–15. Novozymes accordingly requests that the Court ask

U.S. Water to accept a remittitur of any award in excess of this amount. 9 See Fox v. Hayes, 600

F.3d 819, 846 (7th Cir. 2010) (finding “a remittitur can resolve the overcompensation problem”

without wasting the time and expense of the first trial); Unisplay, 69 F.3d at 519 (“[T]he use of

remittitur enables parties to avoid the delay and expense of a new trial when a jury’s verdict is




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 The jury’s award of $7,582,966, less $660,492, is $6,922,474. This is the amount U.S. Water
should be asked to remit for Phytaflow sales through the end of May 2017.


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excessive in relation to the evidence of record.”). Should U.S. Water decline, then Novozymes

requests a new trial as to damages.

IV.    CONCLUSION

       For the foregoing reasons, Novozymes respectfully requests that this Court grant its

motion for judgment as a matter of law that damages should not exceed a reasonable royalty of

7% of Novozymes’ Phytaflow sales. In the alternative, Novozymes requests that the Court

conditionally grant a new trial as to damages unless U.S. Water accepts a remittitur of any award

in excess of a 7% reasonable royalty rate.




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Dated: November 22, 2017            Respectfully submitted,

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